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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

     TIMOTHY JACKSON,           §
         Plaintiff,             §
                                §
  v.                            §        Civil Action No. 4:21-cv-00033
                                §
  LAURA WRIGHT, et. al.,        §
       Defendants.              §
________________________________________________________________

     DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS
________________________________________________________________

TO THE HONORABLE JUDGE AMOS L. MAZZANT:

A.     Jackson lacks standing to sue the Board Defendants.

       Jackson’s Complaint alleges only three injuries in support of his First Amendment

retaliation claim: (1) the commissioning of the ad hoc panel to review the publication practices of

a UNT journal; (2) the issuance of the Panel’s report; and (3) the alleged “decision to block”

Jackson from future involvement in the Journal of Schenkerian Studies (the “Journal”). Dkt. No.

1 at ¶63. Jackson’s Response only addresses his standing to complain of the third of these alleged

injuries and appears to concede that the first two are past injuries that he lacks standing to pursue.

As set forth below, Jackson lacks standing to complain of the remaining injury alleged in his

complaint: the alleged “decision to block” Jackson from future involvement in the Journal.

       As a preliminary matter, while Jackson argues in his Response that UNT “removed” him

from the Journal, that is not what he pleads in his Complaint. Instead, he alleges in his Complaint

that his department chair, Benjamin Brand, threatened to remove him from the Journal. Dkt. No. 1

at 2 (alleging “threats to remove” Jackson from the Journal); id. at ¶60 (alleging that Brand
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informed him “the he would be removed from the Journal”). Further, the correspondence Jackson

cites as evidence of these “threats” demonstrates that no final decision about Jackson’s future role

in the Journal had been made. Dkt. No. 1-22 (Brand writing that he would not “support” Jackson

having a role in the Journal’s “day-to-day operations” and “its editorial process,” but not

communicating that any final decision had been made or that is was Brand’s decision to make).

Indeed, Jackson’s sworn affidavit attached to his Complaint states clearly that he “currently

serve[s] as a member of [the Journal’s] editorial staff.” Dkt. No. 1-1 at ¶4. A threat is a discrete

past event, not an ongoing injury capable of redress here.

       The Court need not review the new evidence and new allegations Jackson provides in his

Response because they are extraneous to the Complaint. Dorsey v. Portfolio Equities, Inc., 540 F.3d

333, 338 (5th Cir. 2008) (Rule 12(b)(6) review) Robinson v. TCI/US West Commc’ns Inc., 117 F.3d

900, 904 (5th Cir. 1997) (Rule 12(b)(1) review). In any event, Jackson attaches evidence that

undermines his arguments. The March 2, 2021 letter to Jackson from Provost and Vice President

for Academic Affairs Jennifer Cowley demonstrates that membership of the Journal’s editorial

board will be determined by a new editor-in-chief who is yet to be selected through a national search

by a five-member search committee. Dkt. Nos. 16-2, 16-3. 1 Even if the future removal from an

advisory role on a university publication were a cognizable injury, Jackson cannot show that such




1
  The Court may review undisputed evidence to resolve a Rule 12(b)(1) motion. Robinson, 117 F.3d
at 904. While Defendants dispute the facts set forth in Jackson’s second affidavit (Dkt. No. 16-1),
Defendants do not dispute the facts set forth in the two attachments to his affidavit (Dkt. Nos. 16-
2, 16-3).
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action is “real and immediate” because the person who will decide the membership of the editorial

board has not even been determined yet. City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983). 2

        Finally, Jackson erroneously argues that the Board of Regents’ governing authority over

the university alone is sufficient to establish that his alleged injuries are traceable to the Board

Defendants. See Dkt. No. 16 at 12–13. Not so. Indeed, the Honorable Judge Lee Yeakel rejected

that same argument in a recent unpublished opinion involving a claim of First Amendment

retaliation:

        The Court concludes that Doe has failed to allege that there is any causal
        connection between Doe’s injury—dismissal from UT Health—and any action by
        the Board [of Regents]. Doe does not identify any conduct or act by the Board that
        affected Doe one way or another. . . . Doe argues that because the Board is
        responsible for overseeing the management of UT Health, the compelled
        conclusion is that the Board caused Doe’s injury—Doe’s dismissal from UT Health
        after failing the required preliminary examination three times. The Court concludes
        this is inadequate to show that the Board engaged in any act that contributed to
        Doe’s dismissal from UT Health. Doe has failed to show he has standing to proceed
        with the claims alleged against the Board.

Doe v. Board of Regents of the Univ. of Tex. System, No. A-19-CV-0415-LY, at 7–8 (W.D. Tex.

October 24, 2019) (unpublished) aff’d by Doe v. Harrell, No. 19-51013, ---F. App’x---, 2021 WL

70525 (5th Cir. Jan. 7, 2021) (Exhibit A.). Of course, that holding comports with settled law that a

plaintiff must show “a causal connection between the injury and the conduct complained of—the

injury must be fairly traceable to the challenged action of the defendant.” Bennett v. Spear, 520 U.S.




2
   Jackson also points to his allegation that Brand threatened to “eliminate resources” previously
provided to the Journal and Center of Schenkerin Studies even though his Complaint does not
identify that allegation as serving a basis for his retaliation claim. Dkt. No. 1 ¶¶62–64. Regardless,
Jackson does not identify the “resources” or plead any impact on him personally. Thus, his vague
allegation fails to describe a concrete and particularized injury that is imminent.
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154, 167 (1997) (emphasis added). Jackson attempts to avoid this requirement by asserting (at 13)

that he need not plead that the Board Defendants “caused his injuries.” His assertion is plainly

contrary to this settled law. E.g., Bennett, 520 U.S. at 167. And contrary to Jackson’s argument (at

13), this case is unlike constitutional challenges to university policies, such as affirmative action,

because Jackson does not complain about any policy adopted or implemented by the UNT Board

of Regents. 3 Instead, Jackson argues that certain UNT officials acted against university policy.

Jackson lacks standing.

B.     Sovereign immunity bars Jackson’s claims against the Board Defendants.

       Jackson’s arguments in favor of the application the Ex parte Young exception to sovereign

immunity are similar to his arguments in support of standing. The arguments fail for similar

reasons. Just as he alleges no ongoing injury, see supra Part A., he alleges no ongoing violation of

federal law. His assertion (at 16) that “the university is currently excluding him from the Journal”

is not pleaded in his Complaint and is contrary to his sworn affidavit attached to his Complaint.

See Dkt. No. 1 at 2 (alleging only “threats to remove” Jackson from the Journal); Dkt. No. 1-1 at

¶4 (Jackson swearing that he “currently serve[s] as a member of [the Journal’s] editorial staff.”)

(emphasis added). Had UNT in fact “banished” Jackson from the Journal, one would expect he

might have pleaded that fact and sought reinstatement to the Journal as relief. Tellingly, he

requests only an injunction against future unspecified “adverse action.” Dkt. No. 1 at ¶76. Because

“deterrence interests are insufficient to overcome the dictates of [State sovereign immunity],” he




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          Jackson cites only Fisher v. Univ. of Tex. at Austin, 758 F.3d 633 (5th Cir. 2014) as support
for his theory, but that case did not address the issue at all.
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must plead an ongoing violation of federal law. Green v. Mansour, 474 U.S. 64, 68 (1985). A past

“threat” is not an ongoing violation and Jackson does not even argue that any of his other alleged

injuries falls under the Ex parte Young exception to sovereign immunity.

       Nor are the Board Defendants proper parties under Ex parte Young because Jackson fails to

plead any facts to show that the Board Defendants are “state officials acting in violation of federal

law.” Frew ex rel. Frew v. Hawkins, 540 U.S. 431, 437 (2004). Jackson argues that the Board

Defendants have “some connection” to the alleged retaliatory actions by virtue of their governing

authority of the university. Dkt. No. 16 at 15. Again, Jackson’s argument misses the mark. The

general authority to implement law and policy is insufficient to establish “some connection” to a

challenged action for the purpose of Ex parte Young. See, Texas Democratic Party v. Abbott, 961 F.3d

389, 400–01 (5th Cir. 2020) (“We do know, though, that it is not enough that the official have a

‘general duty to see that the laws of the state are implemented.’”) (quoting Morris v. Livingston,

739 F.3d 740, 746 (5th Cir. 2014)) (emphasis added in original). And Jackson’s analogy to an

affirmative-action challenge fails because Jackson does not challenge here any policy adopted or

implemented by the Board of Regents. His sole reliance on Fisher, 758 F.3d 633, is again misplaced

because that case did not address the application of Ex parte Young.

       Finally, Jackson’s vague request for an injunction against future “adverse actions” cannot

disguise impermissible injunctive relief that would require affirmative action on discretionary

matters. See Richardson v. Texas Secretary of State, 978 F.3d 220, 241–42 (5th Cir. 2020). It would

be impermissible, for example, for the Court to issue an injunction that requires UNT officials to

provide Jackson with certain Journal activities—like inclusion in a search committee for a new


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Journal editor (about which he appears to complain)—or that mandates the levels of “resources”

UNT must provide to its own centers and publications. Such an injunction “would violate

sovereign immunity under Ex parte Young, and ‘would place the court on the wrong side of the line

thought to divide ‘discretionary’ from ‘ministerial’ functions.’” Id. at 241 (quoting Vann v.

Kempthorne, 534 F.3d 741, 753 (D.C. Cir. 2008) (citing Hagood v. Southern, 117 U.S. 52 (1886))).

         Jackson’s claims are barred by sovereign immunity.

C.      Jackson fails to state a claim for First Amendment retaliation.

        The Board Defendants’ motion to dismiss argues that Jackson failed to plead an adverse

employment action that supports a claim for a violation of the First Amendment. Jackson spills

much ink on issues irrelevant to that inquiry, including on the distinction between the Garcetti and

Pickering tests. Garcetti merely added a threshold inquiry to the Pinkering test. See Davies v.

McKinney, 518 F.3d 304, 312 (5th Cir. 2008). That threshold inquiry addresses whether a public

employee’s particular speech is entitled to constitutional protection; it does not alter the standard

for what constitutes an adverse employment action. Id. Both tests require the showing of an adverse

employment action, which is the only element the Board Defendants’ motion addresses. Whether

Jackson “alleged any adverse employment action by [Board Defendants] is a question of law.”

Breaux v. City of Garland, 205 F.3d 150, 161 (5th Cir. 2000).

        In First Amendment retaliation cases, this Court has long held that “[a]dverse employment

actions are discharges, demotions, refusals to hire, refusals to promote, and [formal] reprimands.”

Benningfield v. City of Hous., 157 F.3d 369, 376 (5th Cir. 1998); see also Sharp v. City of Houston, 164

F.3d 923, 933 (5th Cir. 1999) (“[T]his court has required something more than” “trivial acts of


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retaliation.”); Colson v. Grohman, 174 F.3d 498, 510, 513 n.8 (5th Cir. 1999) (“[A] plaintiff must

cross a certain threshold of harm before [he] can bring a claim for First Amendment retaliation”

because not all “disadvantages imposed for the exercise of First Amendment freedoms constitute

actionable retaliation.”). Jackson attempts to shoehorn his allegations into this standard by

claiming that the Ad Hoc Panel’s report qualifies as a “reprimand” and the alleged threat to

remove him from the Journal constitutes a “demotion.” Jackson’s arguments lack merit.

       First, as discussed above, the Court lacks jurisdiction to entertain Jackson’s retaliation

claim based on the alleged “reprimand” because he lacks standing to assert it and because it is

barred by sovereign immunity. Jackson’s Response does not argue otherwise. “‘[S]tanding is not

dispensed in gross’; a party must have standing to challenge each ‘particular inadequacy in

government administration.’” Legacy Cmty. Health Servs., Inc. v. Smith, 881 F.3d 358, 366 (5th Cir.

2018). Regardless, his “reprimand” claim fails.

       To be sure, the Ad Hoc Panel’s report found “several structural problems” with the

editorial and review process of the Journal, but the report does not constitute a formal reprimand

of Jackson. Indeed, Jackson points to no statement in the report faulting Jackson, as opposed to the

structure and practices of the “student-run journal” more generally. Dkt. No. 1-5 at 7. Regardless

of whether Jackson takes any criticisms of the Journal’s editorial practices personally, such

criticisms are not formal reprimands. Mylett v. City of Corpus Christi, 97 F. App’x 473, 476 (5th Cir.

2004) (distinguishing “formal reprimands” from mere “criticism” that cannot constitute an

adverse employment action); Benningfield v. City of Houston, 157 F.3d 369, 377 (5th Cir. 1998) (what

plaintiff characterized as “reprimands” were “mere criticisms” not actionable as “[f]ormal


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reprimands.”); Harrington v. Harris, 118 F.3d 359, 366 (5th Cir. 1997) (noting that “mere

criticisms do not give rise to a constitutional deprivation for purposes of the First Amendment.”).

       Nor is a “threat” to remove Jackson from an advisory role on a student journal a

“demotion,” and Jackson cites no support for his argument that actual removal from the Journal

would constitute a “demotion.” Indeed, “a plaintiff’s subjective perception a demotion has

occurred is not enough,” Forsyth v. City of Dallas, 91 F.3d 769, 774 (5th Cir. 1996), and undersigned

counsel is unaware of any case in which a court found that an employee was “demoted” despite

no change in title, position, duties, and benefits. Jackson’s advisory role on a “student-run”

publication is an “administrative” activity too “trivial” to be of constitutional import. Dorsett v.

Bd. of Trustees for State Colleges & Univ., 940 F.2d 121, 123–24 (“A federal court is simply not the

appropriate forum in which to seek redress for such harms.”).

       Jackson also advocates for the application of the nonemployment standard to this

employment case. Dkt. No 16 at 21 (quoting Morris v. Powell, 449 F.3d 682, 687 (5th Cir. 2006).

But he cites no authority for the application of that standard here, and the Firth Circuit has

consistently maintained the distinction between employment cases and nonemployment cases.

E.g., Keenan v. Tejeda, 290 F.3d 252, 258 (5th Cir. 2002) (contrasting First Amendment retaliation

cases in “employment” context with those brought by “an ordinary citizen.”); Slegelmilch. Pearl

River Cnty. Hosp. & Nursing Home, 655 F. App’x 235, 239-40 (5th Cir. 2016) (same). That Jackson

is employed in an academic setting does not alter the employment nature of his claims. In any

event, his claims would fair no better under the nonemployment test. See, e.g. Johnson v. Bowe, No.

19-40615, ---F. App’x---, 2021 WL 1373959, *5 (granting motion to dismiss proper because


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“criticism, false public accusations and attempted criminal investigation are not substantial

enough injuries to ‘chill a person of ordinary firmness.’”); id at n.14 (collecting Fifth Circuit cases

on nonactionable harms.). Jackson fails to state a claim for First Amendment retaliation.

D.     Jackson fails to state a claim for defamation.

       Jackson argues (at 26) that “Texas law is clear that baseless accusations of ‘racism’ are

actionable,” but the three opinions he cites in support of that claim do not address that issue at all.

In Freedom Newspapers v. Cantu, the court addresed whether a quotation attributed to a political

candidate was “substantially true” and whether the newspaper acted with actual malice. 126

S.W.3d 185 (Tex. App.—Corpus Christi-Edinburg 2003), rev’d by 168 S.W.3d 847 (2005). The

case neither involved a claim of “racism” nor the argument that the newspaper was expressing a

nonactionable opinion. And contrary to Jackson’s suggestion (at 26), the court in Baker v. Orange

Panda, LLC explicitly declined to address the issue of whether the statement “Webb is a racist”

was actionable under Texas law. No. 04-19-00846-CV 2020 WL 6293150, at *8 n.7 (Tex. App.—

San Antonio, Oct. 28, 2020) (“Baker further argues the “Webb is a racist” statement is not

actionable because it is a statement of opinion rather than fact. Because of our disposition of this

statement later in this opinion, we need not address this argument.”). Likewise, the court in City

of Brownsville v. Pena did not address whether labeling someone “racist” was a nonactionable

opinion. 716 S.W.2d 677 (Corpus Christi-Edinburg 1986), disapproved by Davis v. City of San

Antonio, 752 S.W.2d 518 (Tex. 1988). That issue was neither raised by the parties nor discussed by

the court. None of the cases Jackson cites support his argument or overcome clear precedent that

“statements that are not verifiable as false cannot form the basis of a defamation claim.” Scripps


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NP Operating, LLC v. Carter, 573 S.W.3d 781, 794 (Tex. 2019). 4 Jackson does not even attempt to

explain how any characterization of his attack on Ewell as “racist” is subject to objective

verification.

        Instead, Jackson retreats by suggesting (at 27) that other statements by the Defamation

Defendants are subject to objective proof even though his Complaint only identifies the

Defamation Defendants’ use of the term “racist” as supporting his defamation claim, See Dkt. 1

¶¶65–75. Regardless, any statements that Jackson engaged in “ad hominem” and “personal

attacks” are equally protected as nonactionable opinion. Likewise, while his Complaint does not

identify as defamatory a statement that Ewell was not invited to respond to the articles about his

work, any such statement would be true and thus not defamatory. The Journal’s call for papers

that Jackson cites merely “invite[d] interested parties to submit essay responses to Ewell’s paper.”

Dkt. No. 1-11 (emphasis added). Thus, while Jackson might reasonably argue that Ewell was invited

to respond to his own paper, it is undisputed that Ewell was never invited to respond to the articles

about his paper. Dkt No. 1-5 at 11 (Jackson told the panel Ewell was not invited so that commenters

on his work “could express their views freely”). Jackson’s defamation claims must be dismissed.

        Defendants respectfully request that the Court grant their motions to dismiss.




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  Jackson’s citation to Como v. Riley does not advance his claim because the alleged defamatory
email in that case stated that the plaintiff’s “office cubicle contained a statuette of a black man
hanging from a white noose” which is a fact subject to objective verification. 731 N.Y.S2d 731 (N.Y.
App. Div. 2001). The Constitution fully protects one’s right to opine about someone’s “action,”
and Jackson’s attempt to distinguish “action” from “speech” rings particularly hollow here where
the entire thrust of his Complaint is that the Defamation Defendants were addressing his “action”
of attacking Ewell in a university journal. Jackson does not identify any other described “action”
he claims is subject to objective verification as false.
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                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of April, 2021, I electronically filed the foregoing
document with the Clerk of the Court using the CM/ECF system, which automatically provided
notice to the following CM/ECF participants:

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